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\| cAROLEEN VAN HOOMISSEN, RONALD

|| CHAMBER OF COMMERCE, DESCHUTES
|| COUNTY SCHRIFF DEPARTMENT (sic),

OF COMERECE (sic), ee

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Case 6:05-cv-06156-TC pocuren 54 Filed 11/23/05 Page1of3

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UNITED STATES DISTRICT COURT
FOR THE STATE OF OREGON

MARTIN ROB CAGAN, |
| Plaintiff, — Case No.; 05-6156-TC
ANSWER TO SECOND AMENDED

COMPLAINT BY DEFENDANT BEND
CHAMBER OF COMMERCE

VS.

JOHNSON, STAHANCYK-GEARING-
RACKNER-KENT A FIRM AND ITS .
PARTNERS (sic), CREG PHILLIPS (sic),
KAY VAN HOOMISSEN, RICHARD VAN
HOOMISSEN, MICHAEL VAN
HOOMISSEN, THE UNITED STATES:
ARMY-WEST POINT ACADEMY, BEND

eee Neel Noel ae Nome Sac” Nome Sama! Smee”

DESCHUTES COUNTY SCHRIFF, (sie)
CAPTAIN JIM EDWARDS, CORPORAL
LAWRENCE, DEPUTY ABBOTT,

DESCHUTES COUNTY, BEND CHAMBER

Defendants.

For Answer to Plaintiffs Second Amended Complaint on file herein, Defendant Bend

Chamber of Commerce admits, denies and alleges as follows:

1. | Itis difficult to determine from Plaintiff's Complaint the specific factual

allegations raised. As such, other than admitting that defendant Greg Phillips is a former

COMMERCE
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Co . ‘BUTORNEYE AT LAW, BBTABLISHED 1915 :
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employee of the Bend Chamber of Commerce, defendant Bend Chamber of Commerce denies
each and every allegation of the Complaint regarding defendant Bend Chamber of Commerce. :

2. For allegations not regarding defendant Bend Chamber of Commerce, Bend
Chamber of Commerce lacks sufficient information to-admit or deny those allegations and, based
upon such lack of information or belief, deny those allegations.

AFFIRMATIVE DEFENSES
First Affirmative Defense
(Failure to State a Claim Upon Which Relief Can be Granted)

3. Plaintiff's claims for relief, and Plaintiff's Second Amended Complaint as a

whole, fail to state a claim or claims upon which relief can be granted.
Second Affirmative Defense
(Statute of Limitations)

4, Plaintiff's claims, and each of them, are barred by the applicable statute or

statutes of limitations and ultimate repose.
Third Affirmative Defense
. (Lack of Subject Matter Jurisdiction)

5, The Court lacks subject shatter jurisdiction to heat this matter.

. WHEREFORE, Defendant Bend Chamber of Commerce prays that Plaintiff take nothing
by reason of his Second Amended Complain, that Plaintif?’s Second Amended Complaint be . |

dismissed with prejudice, that final judgment be entered i in favor of Defendant Bend Chamber of

Commerce and against Plaintiff, and that Defendant Bend Chamber of Commerce be awarded its}

costs, disbursements and any legally repoverable attorney fees incurred herein. »

‘DATED this 23rd day of Novernber, 2005. | |
£5]. MARK Gu REIMECKE

 

 

Sank @REINECKE, OSB 91407
OF Attorneys for Defendant Bend Chamber Of Commerce

|e ANSWER TO SECOND AMENDED COMPLAINT BY DEFENDANT BEND CHAMBER OF

COMMERCE |
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ATTORNEYS Ad LAW, ESTABLISHED 1915 t

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Case 6:05-cv-06156-TC P 54 Filed 11/23/05 Page 3of3

 

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CERTIFICATE OF MAILING

I hereby certify that I served the foregoing ANSWER TO SECOND AMENDED
COMPLAINT by depositing a true, full and exact copy thereof in the United States Post Office
at Bend, Oregon, enclosed in a sealed envelope, postage prepaid and addressed to:

Martin Rob Cagan Louis L. Kurtz

1400 SW 124" Terrace 7 Kurtz, Ford & Johnson, LLP -
Building Q, Apt. 303 . 7 400 E. Second Ave, Suite 101
Pembroke Pine, FI, 33027 Eugene, OR 97401

Email: mrobcagan@yahoo.com Email: tammy@kfillp.com
Plaintiff pro se . : Of Attorneys for Defendants

Caroleen Van Hoomissen and Greg Phillips

Mark P. Amberg | Gordon L. Welborn
Deschutes County Legal Counsel Hoffman, Hart & Wagner, LLP
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)Bend, OR 97701 : Redmond, OR 97756
Email: mark ambers@co.deschutes.or.us Email: glw@bhwred.com
Of Attorneys for Defendants Deschutes | Of Attorneys for Defendant Johnson
County Government, Deschutes County and Stahancyk, Gearing Rackner & Kent

Sheriffs Department, Deschutes County,
Sheriff Stiles, Captain Tim Edwards, |

Corporal Lawrence and Deputy Abbott |

Michael F. Van Hoomissen
1618 SW First Ave, Suite 319 |
Portland, OR 97201

Email: myanhoom@attglobal.net i ae
Pro se Defendant and Attorney for Defendant Richard Van Hoomissen

DATED this 23rd day of November, 2005. |
: AS], MARK G. REINECKE

 

MARK G. REINECKE, OSB 91407 -
Of Attorneys for Defendant Bend Chamber of Commerce

 

So ‘CERTIFICATE OF TRUE COPY | .
Thereby certify the foregoing is a true, full and exact copy of the original thereof.
DATED this 23rd day of Novernber, 2005. Lo .

 

- MARK G. REINECKE, OSB 91407 a
. Of Attorneys for Defendant Bend Chamber of Commerce
3 ~~ ANSWER TO SECOND AMENDED COMPLAINT BY DEFENDANT BEND CHAMBER OF |
COMMERCE : a : :
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